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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF MISSISSIPPI



UNITED STATES OF AMERICA

     V.
                                                           Case Number: 2:10CR160-SA-JMV
MARIO LADELL MCCLINTON

                                                 ORDER

          Before the court is the motion (# 476) of Defendant Mario Ladell McClinton for

reconsideration of bond. The court has considered the motion, the government’s response and the

record and is of the opinion that the motion should be denied for the following reasons.

          On July 11, 2011, at the conclusion of a detention hearing, Magistrate Judge Alexander

ordered that the defendant be detained pending trial. Judge Alexander found the defendant had not

rebutted the presumption that no conditions of release would reasonably assure the appearance of

the defendant as required and the safety of the community. Further, Judge Alexander found that

detention was warranted based on clear and convincing evidence regarding the defendant’s criminal

history. Here, the defendant has failed to present any new information that would have a material

bearing on the issue of whether there are conditions of release that will reasonably assure his

appearance as required and the safety of the community. Accordingly, the court agrees with the

government that a new hearing would be a waste of judicial resources. Therefore, it is

          ORDERED that the instant motion is DENIED.

          This, the 10th day of April, 2012.



                                                     /s/ Jane M. Virden
                                                     U. S. MAGISTRATE JUDGE
